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                            UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA

LASHAWN JONES, ET AL.                     *                 CIVIL ACTION
                                          *                 NO. 12-00859
VERSUS                                    *
                                          *                 HON. LANCE M. AFRICK
MARLIN GUSMAN, ET AL.                     *                 SECTION: I
                                          *
                                          *                 MAG. MICHAEL B. NORTH
                                          *                 SECTION: 5
* * * * * * * * * * * * * * * * * * * * * *


                                    JOINT WITNESS LIST

       NOW INTO COURT, through undersigned counsel, comes the City of New Orleans (the

“City”), Independent Jail Compliance Director Darnley R. Hodge, Sr. (the “Compliance

Director”), Marlin N. Gusman, Sheriff of the Parish of Orleans (the “Sheriff”), the Plaintiff Class

and the United States Department of Justice (the “United States and Plaintiffs”) who, after

conferring on the matter, respectfully submit the following Joint Witness List, identifying

witnesses whom they may or will call at the upcoming Evidentiary Hearing on the City’s Motion

for Relief from Court Orders of January 25, 2019 (Rec. Doc. 1221) and March 18, 2019 (Rec. Doc.

1227) Regarding the Phase III Jail Facility at Rec. Doc. 1281.

                                   CITY’S WITNESS LIST

       The City may or will call the following individuals as witnesses at the evidentiary hearing

on the City’s Motion for Relief at Rec. Doc. 1281:

   1. William P. Kissel, Fact Witness
      Wellpath, LLC,
      Will testify regarding the services provided by Wellpath, LLC to OPSO inmates.

   2. Dr. Carin Kottraba Expert Witness
      Wellpath, LLC
      Will testify regarding the services provided by Wellpath LLC to OPSO inmates, and care
      standards.
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3. Dr. Ronald Shansky, Expert Witness
   Will testify regarding the OPSO Consent Decree, care standards and testimony offered as
   part of the record.

4.    Dr. Jeffrey Rouse or Dr. John Thompson,
     or another representative of Tulane School of Medicine, Department of Psychiatry,
     Expert Witness
     Will testify regarding the services provided by Tulane School of Medicine, Department
     of Psychiatry to OPSO Inmates and care standards.

5. William Snowden or a Representative of the Vera Institute of Justice, Fact Witness
   Will testify regarding community concerns and will offer a historical perspective of jail
   population trends and national perspectives on best practices with respect to Orleans
   Parish.

6. Jonathan Wisbey, Fact Witness
   City of New Orleans
   Will testify regarding funding and investment in the Orleans Justice Center to date, the
   reduced and steadily declining inmate population, and all other matters described in
   Jonathan Wisby Declarations submitted as part of the record.

7. John Sousa, Fact Witness
   Hill International, Project Manager
   Will testify regarding jail facility construction, the TDC renovation, Phase III new jail
   facility, TDC and proposed alternatives.

8. Ramsey Green, Fact Witness
   City of New Orleans
   Will testify regarding City of New Orleans infrastructure, operations, capital projects,
   FEMA and proposed alternatives.

9. Gilbert Montano, Fact Witness
   City of New Orleans
   Will testify regarding City of New Orleans budget, and negative impacts of COVID19.

10. LaNitra Hasan, Fact Witness
    City of New Orleans
    Will testify regarding City of New Orleans operations, and FEMA projects.

11. Allen Patrick, Expert Witness
    Will testify regarding criminal justice facilities and Phase III alternatives.

12. Any witness listed by any other party.




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   13. Any witness identified in pleadings and/or exhibits filed into the record by the parties,
       which the City is still reviewing.

   14. Any witness needed for rebuttal of testimony introduced by another party.

   15. Any witness needed for impeachment.

       The City of New Orleans reserves the right to supplement and amend this witness list as

may be needed to ensure that the City’s interest is protected following a complete review of the

three Opposition Memorandums recently filed at Rec. Docs. 1301, 1304 and 1305, which includes

more than five thousand pages of exhibits for review.


                         COMPLIANCE DIRECTOR’S WITNESS LIST

       The Compliance Director, through undersigned counsel, respectfully submits the following

Witness List.

       The Compliance Director may call the following individuals and/or entities at the trial. If

called, these witnesses are expected to testify as follows:

   1. Michael G. Gaffney, Esq.

       Mr. Gaffney will testify on all topics covered by his affidavit and his report attached to his

       affidavit, including, but not limited to, the FEMA funds designated after Hurricane Katrina

       to rebuild facilities associated with the OPSO jail operations, the use of FEMA funds by

       the City of New Orleans (the “City”), the combination of various FEMA projects by the

       City, the FEMA funds expended by the City, including, but not limited to, funds associated

       with The Templeman II facility, the FEMA funds remaining in the combined projects, the

       use of FEMA funds to implement Phase III, the design of OJC according to FEMA

       regulations, and the use of temporary FEMA facilities, such as The Temporary Detention

       Center (“TDC”).




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   2. Director Hodge or senior official with the Orleans Parish Sheriff’s Office (“OPSO”)

       Director Hodge or a senior official with the OPSO will testify on the operation of the jail,

       the factors affecting the inmate population of the jail, the effect of COVID-19 on jail

       operations, the difficulties and handling of inmates with medical or mental health needs,

       and all topics covered by Mr. Hodge’s affidavit.

   3. Sean Bruno, CPA

       Mr. Bruno will testify as to financial issues associated with jail operations, the costs for

       OJC and Phase III, and all topics covered by his affidavit.

   4. Rebecca Dietz, Esq.

       Ms. Dietz will testify regarding the negotiations and agreement to build the Phase III

       facility. (The City objects to Rebecca Dietz being called as a witness regarding her work

       as a former City Attorney on behalf of her former client, the City of New Orleans. The

       Compliance Director asserts that the City’s objection concerning Ms. Dietz’s

       communications to third parties is baseless.)

       The Compliance Director reserves the right to supplement this Witness List in light of the

witness lists of other parties and any briefing submitted by other parties.


                               THE SHERIFF’S WITNESS LIST

       Name:                           Brief Description of Testimony:

       a) Jeffery Rouse, M.D.:         The number of inmates requiring acute mental health
                                       treatment in OPSO custody, needs required to comply with
                                       Consent Judgment.

       b) Alexander Calenda:           The skyrocketing rate of violent crime and gang presence
                                       in the city of New Orleans, the nature of offenses, and said
                                       crime’s anticipated impact on population of OJC.

       c) Any and all rebuttal witnesses based on testimony that may be proffered by witnesses
          for the City, the Compliance Director, the Plaintiffs, and the DOJ.


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 d) Any witness listed or called by any other party.


         THE UNITED STATES’ AND PLAINTIFFS’ WITNESS LIST

 Name:                         Brief Description of Testimony:

 a) Margo L. Frasier, J.D.: Compliance with medical and mental health care provisions
                            at OJC, Hunt, and TDC, and current impediments to care
                            and security of inmates.

 b) Dr. Robert Greifinger: Compliance with medical and mental health care provisions
                           at OJC, Hunt, and TDC, and current impediments to care
                           and security of inmates.

 c) Catherine M. Knox:         Compliance with medical and mental health care provisions
                               at OJC, Hunt, and TDC, and current impediments to care
                               and security of inmates.

 d) Dr. Raymond Patterson: Compliance with medical and mental health care
                           provisions
                           at OJC, Hunt, and TDC, and current impediments to care
                           and security of inmates.

 e) Chief Byron LeCounte: Impediments to mental health care.


 f) Jamie Lampard:             Anticipated testimony for the Facility Life Safety Officer of
                               OPSO is related to May 2020 Virtual Jail Tour
                               observations.

 g) Dr. Patricia Hardyman: Classification issues related to housing of prisoners at OJC
                           and TDC.


 h) Any and all witnesses necessary for authentication of documents should the parties
    fail to stipulate to authenticity of documents.
         a. Plaintiffs contemplate Lt. Latoya Armwood to authenticate OPSO
             documents.
         b. Plaintiffs contemplate Myra “Kathleen” Thatch to authenticate Wellpath
             documents.

 i) Any and all rebuttal witnesses based on testimony that may be proffered by witnesses
    for the City, OPSO, and/or the Compliance Director.




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    j) Any and all witnesses Plaintiffs deem necessary based on the City’s reply briefing.

    k) Any witnesses listed or called by any other party.

    l) Any witnesses needed for impeachment.


                                                Respectfully submitted,


FOR THE CITY OF NEW ORLEANS:

                                                __/s/ Sunni J. LeBeouf________________
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FOR INDEPENDENT JAIL COMPLIANCE DIRECTOR,
DARNLEY HODGE, SR.:


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FOR MARLIN N. GUSMAN,
SHERIFF OF THE PARISH OF ORLEANS:
                                       CHEHARDY, SHERMAN, WILLIAMS,
                                       MURRAY, RECILE, STAKELUM
                                       & HAYES, LLP

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                                       -and-

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FOR THE PLAINTIFF CLASS
AND THE UNITED STATES DEPARTMENT OF JUSTICE:

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                      Eastern District of Louisiana      Civil Rights Division

                                                         STEVEN H. ROSENBAUM
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                      /s/Theodore Carter III_____        /s/ George Eppsteiner______
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                      FOR THE PLAINTIFF CLASS:

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                                 CERTIFICATE OF SERVICE


       I do hereby certify that on this 31st day of July 2020, a copy of the foregoing was filed

electronically with the Clerk of Court using the CM/ECF system. Notice of this filing will be sent

by operation of the court’s electronic filing system. I also certify that a copy of the foregoing will

be sent to all non-CM/ECF participants by United States Mail, properly addressed and postage

pre-paid.

                                                       __/s/ Sunni J. LeBeouf________________
                                                       SUNNI J. LEBEOUF




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